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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 25-CV-20656-SINGHAL/Sanchez

   RAVIPAL LUTHRA,

         Plaintiff,

   vs.

   UNIVERSITY OF MIAMI,

         Defendant.
   ______________________________________/


                   DEFENDANT’S REPLY IN SUPPORT OF MOTION
                TO DISMISS AMENDED COMPLAINT WITH PREJUDICE
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         Defendant, University of Miami (“University”), hereby replies in support of its Motion to

  Dismiss Amended Complaint with Prejudice (“Motion”) (D.E. 17). The Response in Opposition

  (“Response”) (D.E. 18) filed by Plaintiff, Ravipal Luthra, attempts to salvage his Amended

  Complaint (D.E. 14) but, respectfully, fails to do. Ostensibly conceding that point, the Response

  concludes with a procedurally and legally improper request for leave to amend. However, at this

  juncture, dismissal with prejudice is appropriate.

  I.     THE AMENDED COMPLAINT IS STILL A SHOTGUN PLEADING.

         In both its original Motion to Dismiss (D.E. 14 at 7-10) and the instant Motion (at 10-12),

  the University cited several cases from the Eleventh Circuit, which hold that complaints like

  Plaintiff’s - - in which (1) dozens of factual allegations are incorporated into each count, even

  though unrelated to that count and/or (2) individual counts contain multiple/distinct claims - -

  properly should be dismissed as shotgun pleadings. In response to that authority, Plaintiff makes

  two main arguments.

         First, Plaintiff argues that the University’s “reasoning does not align with any of the four

  (4) types of shotgun pleadings identified by the Eleventh Circuit.” (Resp. at 5.) That is untrue.

  Binding precedent from the Eleventh Circuit holds that complaints like the Amended Complaint

  are shotgun pleadings that should be dismissed:

                 The amended complaint is an incomprehensible shotgun pleading.
                 It employs a multitude of claims and incorporates by reference all
                 of its factual allegations into each claim, making it nearly
                 impossible for Defendants and the Court to determine with any
                 certainty which factual allegations give rise to which claims for
                 relief. As such, the amended complaint patently violates Federal
                 Rule of Civil Procedure 8, which requires a plaintiff to plead “a short
                 and plain statement of the claim showing that the pleader is entitled
                 to relief.” Fed. R. Civ. P. 8(a)(2). At twenty-eight pages long and
                 having incorporated all 123 paragraphs of allegations into all
                 sixteen counts, it is neither “short” nor “plain.”




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  Jackson v. Bank of Am., N.A., 898 F.3d 1348, 1356 (11th Cir. 2018) (emphasis added).

         Other decision from the Eleventh Circuit and the Southern District are in accord. See, e.g.,

  Ferrell v. Durbin, 311 Fed. Appx. 253, 259 (11th Cir. 2009) (“In shotgun style pleading, the

  complaint incorporates all of the general factual allegations by reference into each subsequent

  claim for relief.”); Mason v. City of Miami Gardens, Fla., No. 14-23908-CV, 2015 WL 2152702,

  at *1 (S.D. Fla. May 6, 2015) (“Here, Plaintiff has incorporated into all of his counts a lengthy and

  detailed history of his employment with the City and of its alleged discrimination and retaliation.

  Not all of these allegations support each of his claims. Thus, this constitutes a shotgun pleading.”)

  (citing Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (a shotgun pleading is one in

  which “each count is replete with factual allegations that could not possibly be material to that

  specific count”)); Guillaume v. United States, No. 23-CV-23287, 2024 WL 915267, at *3 (S.D.

  Fla. Mar. 4, 2024) (“By failing to incorporate only the specific factual allegations that support the

  cause of action asserted in each count, [Guillaume] has committed what the Eleventh Circuit has

  called the ‘cardinal sin’ of shotgun pleading.”) (quoting Brown v. Air Line Pilots Ass'n, 2019 WL

  13260855, at *3 (S.D. Fla. Sept. 24, 2019)). 1

         Further, Plaintiff fails to address the fact that several of his Counts (i.e., Counts IV, IX and

  XII) each allege separate claims of discrimination within the same Count. As this Court has

  recognized, that, too, warrants dismissal. RKR Motors, Inc. v. Perez, No. 23-60819-CIV, 2024 WL

  3360488, at *4 (S.D. Fla. June 18, 2024) (Singhal, J.) (“failing to separate causes of action into

  different counts qualifies as a type of shotgun pleading under Eleventh Circuit precedent,

  necessitating dismissal of the subject claims”) (collecting cases). See also Amaya v. Vilsack, No.



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           Although Plaintiff is correct that his Amended Complaint does not incorporate all prior
  counts into subsequent counts, the fact that all general allegations are incorporated into every count
  is sufficient to constitute a shotgun pleading.


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  23-CV-22838, 2024 WL 1285162, at *2 (S.D. Fla. Mar. 26, 2024) (“In the context of Title VII,

  each theory of liability on which the discrimination claim is based constitutes a separate cause of

  action—and therefore must be pled in a separate count.”) (quotations and citations omitted).

         Second, Plaintiff argues that the proper procedural mechanism to challenge a shotgun

  pleading is through a motion for more definite statement (rather than a motion to dismiss). (Resp.

  at 5.) However, as this Court has recognized (in a decision later affirmed by the Eleventh Circuit),

  a motion to dismiss is the proper mechanism where, as here, a plaintiff already has been advised

  of shotgun-pleading deficiencies but has failed to correct them. See Burke v. Custom Marine Grp.,

  No. 19-61733-CIV, 2020 WL 10184340, at *3 (S.D. Fla. May 29, 2020) (Singhal, J.), aff'd, 847

  Fed. Appx. 578 (11th Cir. 2021). In Burke, this Court noted: “What matters is function, not form:

  the key is whether the plaintiff had fair notice of the defects and a meaningful chance to fix them.

  If that chance is afforded and the plaintiff fails to remedy the defects, the district court does not

  abuse its discretion in dismissing the case with prejudice on shotgun pleading grounds.” Id.

  (quoting Jackson v. Bank of Am., N.A., 898 F.3d 1348, 1358 (11th Cir. 2018)). In Jackson, the

  plaintiffs received “fair notice” of their shotgun-pleading defects from the defendants’ motion.

  Jackson, 898 F. 3d at 1358 (“after being put on notice by Defendants of the specific defects in their

  complaint, the Jacksons filed an amended complaint afflicted with the same defects”). Similarly,

  Plaintiff received “fair notice” from the University’s original Motion to Dismiss.

         In sum, at this juncture, dismissal with prejudice is the proper remedy for shotgun pleading.

  II.    THE AMENDED COMPLAINT STILL FAILS TO STATE A CLAIM.

         In addition to the shotgun-pleading defects, the Amended Complaint also fails to state any

  plausible claim for relief. The Response does not dispute that many of Plaintiff’s claims can be

  analyzed together. Each grouping of claims will be discussed in turn.




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         A.      Plaintiff’s Discrimination Claims (Counts I, IV, IX and XII) Should Be
                 Dismissed.

         With respect to his discrimination claims, the Response asserts, in conclusory fashion, that

  Plaintiff has “satisfy[ied] the pleading requirements necessary to survive a motion to dismiss and

  include[d] sufficient facts.” (Resp. at 6.) However, a review of the Amended Complaint and the

  Response (which, notably, does not cite a single allegation from the Amended Complaint) belies

  that characterization.

         Plaintiff does not dispute that he is relying on a disparate treatment theory to sustain his

  discrimination claims. Yet, Plaintiff does not identity - - either in his Amended Complaint or in

  his Response - - how he was treated differently because of his race or national origin. Contrary to

  Plaintiff’s arguments, that is not asking Plaintiff to satisfy the McDonnell-Douglas framework at

  the pleading stage. Instead, it is holding Plaintiff to his pleading burden. Without such allegations,

  Plaintiff has not stated a plausible claim. See, e.g., Achon v. Miami-Dade Cnty., No. 15-20711-

  CIV, 2015 WL 12564322, at *4 (S.D. Fla. June 10, 2015) (“The County argues the Complaint

  should be dismissed because Achon fails to allege sufficient facts to support his claim of

  purposeful discrimination on account of Achon’s age, and instead, only supplies conclusory

  allegations of discrimination. . . . The Court agrees.”); Misquith v. Palm Beach Cnty. Health Care

  Dist., No. 20-CV-81123-AMC, 2021 WL 8055475, at *6 (S.D. Fla. Sept. 29, 2021) (dismissing

  discrimination claims because the allegations “do not raise a plausible claim that [identified

  comparators] were similarly situated in all material respects to [the plaintiff]. They are not

  adequate comparators for purposes of the McDonald Douglas analysis, nor do these allegations

  present a convincing mosaic of discriminatory intent”), R&R adopted, 2022 WL 782545 (S.D. Fla.

  Mar. 15, 2022), aff'd, 2023 WL 2156635 (11th Cir. Feb. 22, 2023).




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         B.      Plaintiff’s Hostile Work Environment Claims (Counts II, V, X and XIII)
                 Should Be Dismissed.

         Although the Parties do not dispute the requisite elements of a hostile work environment

  claim, the Parties disagree over whether the Amended Complaint plausibly alleges such a claim.

  The University’s Motion cited several cases from the Eleventh Circuit, as well as a recent decision

  from Judge Moreno, to explain why Plaintiff’s allegations (including inter alia his reliance on non-

  actionable “stray comments”) fail to satisfy the high standard applicable to plead hostile work

  environment claims. Rather than respond to this authority or identify any contrary precedent,

  Plaintiff simply recites the allegations of his Amended Complaint. By failing to address these

  points, Plaintiff has conceded them. See, e.g., Worley v. Carnival Corp., No. 21-CIV-23501, 2023

  WL 1840154, at *2 (S.D. Fla. Jan. 30, 2023) (“where plaintiff's opposition addresses only certain

  arguments, those arguments that are not addressed are deemed conceded”), R&R adopted 2023

  WL 3028038 (S.D. Fla. Apr. 20, 2023); Suarez v. Integon Nat'l Ins. Co., No. 19-22006-CIV, 2019

  WL 8014371, at *1 (S.D. Fla. Oct. 15, 2019) (“Plaintiff does not respond to this argument in his

  opposition to the motion to dismiss. Accordingly, the Court grants the Defendant's motion.”).

         C.      Plaintiff’s Retaliation Claims (Counts III, VI, XI and XIV) Should Be
                 Dismissed.

         The Parties do not dispute the requisite elements of a retaliation claim. In its Motion, the

  University argued that the Amended Complaint failed to satisfy the first (protected activity) and

  third (causation) elements of the claim. (Mot. at 17-19.) In his Response, Plaintiff contends that

  the University “solely raises an issue with the first prong [protected activity].” (Resp. at 10.)

  However, that contention is false. The Motion specifically argues (with citations to several

  Eleventh Circuit cases) that the element of but-for causation has not been plausibly alleged because

  of the lack of temporal proximity between Plaintiff’s alleged complaint and any adverse




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  employment action. (See Mot. at 19.) As noted above, Plaintiff’s failure to address these arguments

  should be deemed a waiver. 2

         Not only is Plaintiff mistaken about the element of causation, he also is incorrect with

  respect to protected activity. The University’s Motion cited numerous cases for the proposition

  that generic complaints about discrimination that are not tied to a specific characteristic (such as

  race) are not actionable. See also Rhenals v. Fed. Express Corp., No. 1:24-CV-22556, 2024 WL

  4665254, at *5 (S.D. Fla. Nov. 4, 2024) (collecting cases for the proposition that a “person is not

  engaged in a legally protected activity when their alleged complaint or grievance is unrelated to

  statutorily protected matters” or where the plaintiff “failed to connect her concerns specifically to

  being discriminated against because of her [race]”). The Response fails to address any of this

  authority, again simply referring to the insufficient allegations of the Amended Complaint. (Resp.

  at 10-11.)

         Because Plaintiff has not alleged protected activity or causation, Plaintiff has not stated a

  plausible retaliation claim.

         D.      Plaintiff’s FMLA Claims (Counts VII and VIII) Should Be Dismissed.

         Plaintiff does not dispute that the FMLA creates two types of claims (interference and

  retaliation) or that his Amended Complaint attempts to state each claim. Plaintiff dedicates a

  significant portion of his Response to various aspects of the FMLA but fails to confront the aspects

  of his Amended Complaint that mandate dismissal of both claims. (See Resp. at 11-14.)

         With respect to his interference claim, Plaintiff appears to argue that, although the

  University approved Plaintiff’s request for FMLA leave, the University interfered with his FMLA



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          Tellingly, Plaintiff also fails to address the manufactured allegations that were not included
  in his lengthy/sworn EEOC Charge (or the resulting failure to administratively exhaust such
  claims) or in his original Complaint.


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  rights by terminating him before he used all of his approved FMLA leave. (Resp. at 12-13.)

  However, the Eleventh Circuit expressly has rejected this premise. See, e.g., Munoz v. Selig

  Enters., Inc., 981 F.3d 1265, 1275 (11th Cir. 2020) (“Ms. Munoz tries to save her claim by arguing

  she suffered damages because she ‘was terminated rather than being granted the opportunity to

  continue to use . . . intermittent FMLA leave.’ Appellant's Br. at 27. This argument fails.”);

  Norman v. H. Lee Moffitt Cancer Ctr. & Research Inst., Inc., No. 21-12095, 2023 WL 2146593,

  at *2 (11th Cir. Feb. 22, 2023) (citing Munoz for the proposition that, “where an employer did not

  deny leave time, the plaintiff cannot establish an FMLA interference claim, even when the

  employer terminated her and prevented her from the continued use of such leave”).

         With respect to his retaliation claim, Plaintiff simply argues that the “close temporal

  proximity” between his request for (and exercise of) FMLA leave and any adverse employment

  action is sufficient to state a claim. (Resp. at 13-14.) That argument, however, ignores the

  University’s primary argument in its Motion: That, at the time Plaintiff requested and took FMLA

  leave, he was on “thin ice” vis-à-vis his probationary period and longstanding performance

  concerns. The Eleventh Circuit repeatedly has recognized that “anti-retaliation provisions do not

  allow employees who are already on thin ice to insulate themselves against termination or

  discipline by [engaging in protected activity].” See, e.g., Hawkins v. BBVA Compass Bancshares,

  Inc., 613 Fed. Appx. 831, 839 (11th Cir. 2015) (quoting Alvarez v. Royal Atl. Developers, Inc.,

  610 F.3d 1253, 1270 (11th Cir. 2010)). That also holds true in the FMLA context. Fonte v. Lee

  Mem'l Health Sys., No. 20-13240, 2021 WL 5368096, at *6 (11th Cir. Nov. 18, 2021) (rejecting

  FMLA retaliation claim, even though employee “was fired the day after her FMLA leave ended,”

  because employer had concerns about employee’s performance and had contemplated terminating

  her prior to her leave request).




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  III.   DISMISSAL SHOULD BE WITH PREJUDICE

         Citing multiple cases from the Eleventh Circuit, the University’s Motion argued that

  dismissal with prejudice is appropriate because Plaintiff already has had two chances to properly

  state his claims. (Mot. at 21.) The Response does not address this issue. Instead, the Response

  concludes with a request for leave to amend to “cure any deficiencies.” (Resp. at 15.) However, as

  a matter of Eleventh Circuit law, this perfunctory statement is procedurally improper and

  insufficient to preserve the amendment issue. See, e.g., Chames v. Calhoun Cnty. Comm'n, No.

  21-11651, 2022 WL 1217652, at *3 (11th Cir. Apr. 26, 2022) (“Plaintiff's way of requesting leave

  to amend -- just an alternative request contained within Plaintiff's response brief to the County's

  motion to dismiss -- was not proper”); Stein v. TitleMax of Ga., Inc., 819 Fed. Appx. 809, 814

  (11th Cir. 2020) (“He did not file a motion seeking leave to amend, however, and instead

  embedded that request in his brief in opposition to the motion to dismiss. That is not sufficient to

  raise the issue under our precedent.”); Newton v. Duke Energy Fla., LLC, 895 F.3d 1270, 1277

  (11th Cir. 2018) (a request for leave to file an amended complaint had “no legal effect” because it

  was “imbedded within an opposition memorandum” to a motion to dismiss and not made by

  separate motion). That is particularly true in cases, like this one, where Plaintiff is represented by

  counsel. See Chames, 2022 WL 1217652, at *3 (citing Wagner v. Daewoo Heavy Indus. Am. Corp.,

  314 F.3d 541, 542 (11th Cir. 2002)).

         In sum, for the reasons set forth above and in the Motion, the University respectfully

  requests that the Amended Complaint be dismissed with prejudice.




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                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via

   CM/ECF this 17th day of July, 2025, upon the following:

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